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                              UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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  9    ERICA REINERS                              Case No. 2:20−cv−06587−SB−ADS
  10                    Plaintiff(s),
                                                  MANDATORY SCHEDULING
  11 v.                                           CONFERENCE (MSC) ORDER

  12 CHOU TEAM REALTY, LLC, et al.                Date:            March 19, 2021
                       Defendant(s).
  13                                              Time:            8:30 a.m.
  14                                              Courtroom:       6C
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  16
        READ THIS ORDER CAREFULLY BECAUSE IT CONTROLS THIS CASE
  17
                    AND DIFFERS IN PART FROM THE LOCAL RULES.
  18
               This case has been assigned to Judge Stanley Blumenfeld, Jr. and is set for a
  19
        scheduling conference pursuant to Fed. R. Civ. P. 16(b) on the above date in
  20
  21    Courtroom 6C of the First Street Courthouse, 350 West First Street, Los Angeles,

  22    CA, 90012.

  23
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  26
          C.     JOINT 26(F) REPORT
  27
          D.     CASE MANAGEMENT ORDER (CMO)
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  1    A.    PRELIMINARY MATTERS

  2          1.   Self-Represented Parties. Parties appearing in propria persona (“pro

  3               per”) must comply with the Federal Rules of Civil Procedure and the

  4               Local Rules. See Local Rule 1-3, 83-2.2.3. “Counsel,” as used in this

  5               order, includes parties appearing in pro per.

  6          2.   Notice to be Provided by Counsel. Plaintiff’s counsel or, if plaintiff is a

  7               pro per, defendant’s counsel, shall provide this Order to all known parties

  8               who have not yet appeared or who appear after the date of this Order.

  9          3.   Court’s Website. This and all other applicable orders in this case are

  10              available on Judge Blumenfeld’s Webpage (scroll to bottom). The

  11              Local Rules are available on the Central District of California Website.

  12         4.   Pleadings. If plaintiff has not previously served the operative complaint

  13              on all defendants, plaintiff shall promptly do so and file proof(s) of

  14              service within 3 days thereafter. Each defendant likewise shall promptly

  15              serve and file a responsive pleading and file proof of service within 3

  16              days thereafter (if not previously done). At the scheduling conference,

  17              the Court will dismiss all remaining DOE defendants and set a deadline

  18              within 60 days for hearing motions to amend the pleadings or add parties.

  19         5.   Discovery. The parties are reminded of their obligations to (i) make

  20              initial disclosures “without awaiting a discovery request” (Fed. R. Civ.

  21              P. 26(a)(1)) and (ii) confer on a discovery plan at least 21 days before the

  22              scheduling conference (Fed. R. Civ. P. 26(f)). The Court encourages

  23              counsel to agree to begin to conduct discovery actively before the

  24              scheduling conference. At the very least, the parties shall comply fully

  25              with Fed. R. Civ. P. 26(a), producing most of what is required in the

  26              early stage of discovery, because the Court will impose strict deadlines

  27              to complete discovery in the case management order.

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  1    B.    MANDATORY SCHEDULING CONFERENCE (MSC)

  2          1.   Continuance. A request to continue the scheduling conference will be

  3               granted only for good cause.

  4          2.   Vacating the Conference. The Court may vacate the scheduling

  5               conference and issue a case management order based on the Report.

  6          3.   Participation. Lead trial counsel must attend the scheduling conference,

  7               unless excused by the Court for good cause prior to the conference.

  8    C.    JOINT RULE 26(F) REPORT

  9          Caption. Under the title, list the dates of the (i) Original Complaint; (ii)

  10         Removal (if removed); (iii) Responsive Pleading; (iv) Trial (Proposed);

  11         and (v) MSC.

  12         Due Date. File the Joint Rule 26(f) Report (Report) no later than 7 days

  13         before the scheduling conference and deliver it to Judge Blumenfeld’s

  14         Chambers email (in Word format) and Chambers Copy box outside the

  15         Clerk’s Office (4th floor).

  16         Jointly Filed. Plaintiff shall draft the Report−unless plaintiff is self-

  17         represented and not a lawyer or the parties agree otherwise−but it shall be

  18         jointly signed and filed (i.e., a single report submitted by all parties).

  19         Contents. The Report shall include all the following information using

  20         section headings and sub-headings that correspond precisely to those below:

  21         1.   Subject Matter Jurisdiction. State the basis of federal jurisdiction,

  22              including supplemental jurisdiction. For federal question jurisdiction,

  23              cite the federal law under which the claim arises. For diversity

  24              jurisdiction, state each party’s citizenship and the amount in controversy.

  25         2.   Statement of the Case. A short synopsis (three-page maximum) of the

  26              main claims, counterclaims, affirmative defenses, and procedural history.

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  1        3.   Damages/Insurance.

  2             a. Damages. The realistic range of provable damages.

  3             b. Insurance. Whether there is insurance coverage, the extent of

  4               coverage, and whether there is a reservation of rights.

  5        4.   Parties, Evidence, etc. A list of parties, percipient witnesses, and key

  6             documents on the main issues in the case. For conflict purposes,

  7             corporate parties must identify all subsidiaries, parents, and affiliates.

  8        5.   Discovery.

  9             a. Status of Discovery. A discussion of the present state of discovery,

  10            including a summary of completed discovery.

  11            b. Discovery Plan. A detailed discovery plan, as contemplated by Fed.

  12            R. Civ. P. 26(f). State any proposed changes in the disclosures under

  13            Fed. R. Civ. P. 26(a), the subject(s) on which discovery may be

  14            needed, whether applicable limitations should be changed or others

  15            imposed, and whether the Court should enter other orders. A general

  16            statement that discovery will be conducted on all claims and defenses

  17            (or other similarly vague description) is unacceptable.

  18       6.   Legal Issues. A brief description of the key legal issues, including any

  19            unusual substantive, procedural, or evidentiary issues.

  20       7.   Motions.

  21            a. Procedural Motions. A statement of the likelihood of motions to add

  22              other parties or claims, file amended pleadings, transfer venue, etc.

  23            b. Dispositive Motions. A description of the issues or claims that any

  24              party believes may be determined by motion to dismiss or motion for

  25              summary judgment (MSJ). For the Court’s Standing Order governing

  26              MSJs, see MSJ Order (scroll to bottom of webpage).

  27            c. Class Certification Motions. For a putative class action, the parties

  28               shall provide a proposed briefing schedule for the class certification


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  1                  motion that allows for at least three weeks between the filing of the

  2                  reply and the hearing. The parties must act diligently and begin

  3                  discovery immediately, because the motion must be filed no later than

  4                  120 days from the date originally set for the scheduling conference,

  5                  unless the Court orders otherwise. Any request for additional time

  6                  beyond the 120 days must be supported by a detailed “Class

  7                  Certification Plan”−attached as an exhibit at the end of the Report−

  8                  showing all anticipated activity and the corresponding date for each

  9                  activity, up to the hearing on the motion.

  10         8.   Alternative Dispute Resolution (ADR).

  11              a. Prior Discussions. A description of all prior oral or written settlement

  12                discussions (without stating the terms).

  13              b. ADR Selection. The parties shall state their preference for mediation

  14                before: (i) the magistrate judge, (ii) the court mediation panel, or (iii)

  15                a private mediator (at the parties’ expense). Failure to state a

  16                preference shall be construed as authorizing the Court to select at will.

  17                Participation in ADR by all parties, including an officer with full

  18                settlement authority for corporate parties, is mandatory.

  19         9.   Trial.

  20              a. Proposed Trial Date. The trial date is set within a prescribed period

  21                 from the original due date of the initial responsive pleading. The

  22                 period depends on the relative level of factual and legal complexity:

  23                 (i) Low Level−6 Months (e.g., ADA cases); (ii) Medium Level−12

  24                 Months (e.g., employment cases); and (iii) High Level−18 Months

  25                 (e.g., class actions). The parties must justify the proposed trial date,

  26                 even if it is a joint request, as the strength of the justification rather

  27                 than the fact of agreement will dictate the trial setting.

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  1                b. Time Estimate. A realistic estimate of the number of court days

  2                   required for trial, specifying the number of witnesses each party

  3                   contemplates calling. If the time estimate exceeds four days, counsel

  4                   should be prepared to discuss in detail the basis for the estimate.

  5                c. Jury or Court Trial. Specify whether trial will be by jury or by court.

  6                   The default will be a court trial if the parties fail to specify.

  7                d. Magistrate Judge. Whether the parties agree to try the case (either by

  8                   jury or court trial) before a magistrate judge. See 28 U.S.C. § 636

  9                   (requiring party consent). The parties may choose any magistrate

  10                  judge identified on the Central District Website.

  11               e. Trial Counsel. The names of the attorneys who will try the case (and

  12                  their respective roles if a party has more than one attorney).

  13         10.    Special Requests/Other Issues.

  14               a. Independent Expert or Master. Whether the Court should consider

  15                  appointing a master (Fed. R. Civ. P. 53) or an independent expert (if

  16                  the case involves, for example, substantial discovery disputes, or

  17                  complex scientific issues for the bench).

  18               b. Manual for Complex Litigation. Whether the procedures of the

  19                  Manual for Complex Litigation should be used in whole or part.

  20               c. Other Issues. A statement of any other issues affecting case

  21                  management−e.g., unusually complex technical issues, discovery in

  22                  foreign jurisdiction(s), protective-order disputes, accommodation

  23                  needs (interpreters, ADA requests, etc.), and any proposed ordering of

  24                  proof (severance, bifurcation, etc.).

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  1    D.   CASE MANAGEMENT ORDER (CMO)

  2         1.     Pretrial Dates. The Pretrial Conference (PTC) will be set about three

  3                weeks before the trial date. All other pretrial dates generally will be set

  4                the following number of weeks before the PTC:

  5              Pretrial Event         PTC                            Notes
  6              Fact Discovery          18     Last day for responses/depos. Don’t wait to the last
                 Cutoff:                weeks   minute or risk not having time for dispute resolution.
  7              Expert Discovery        14     Initial/Rebuttal Disclosures−20/18 weeks. Parties
                 Cutoff:                weeks   may modify so long as the cut-off is unchanged.
  8              Discovery Motion        14     Complete discovery in advance of cut-off in time for
                 Cutoff:                weeks   hearing and any court-ordered discovery.
  9              Non-Discovery Motion    12     For summary judgment motions, see MSJ Order on
                 Cutoff:                weeks   the Court’s webpage (scroll to bottom).
  10
                 ADR                     10     Set before cut-off to allow for follow-up sessions. A
                 Cutoff:                weeks   status conference is set within 2 weeks of the cut-off.
  11
                 Trial Filings            4     See Trial and Pretrial Order on the Court’s webpage
                 (1st Set):             weeks   (scroll to bottom).
  12
                 Trial Filings            2     See Trial and Pretrial Order on the Court’s webpage
  13             (2nd Set):             weeks   (scroll to bottom).

  14        2.     Continuances. The CMO deadlines will not be continued absent a

  15               timely showing of good cause presented in a Word document along with

  16               a proposed order delivered to Judge Blumenfeld’s Chambers email.

  17               a.   Good cause. Good cause requires a specific, detailed, and non-

  18                    conclusory showing of diligence from the outset of the case,

  19                    describing: (i) all relevant work previously done (including when

  20                    each item was completed), (ii) all relevant work that remains to be

  21                    done, (iii) why the remaining work could not previously have been

  22                    done (including efforts made to complete each remaining item),

  23                    and (iv) why the amount of time requested is needed to complete

  24                    the remaining work. A desire to engage is settlement discussions

  25                    generally does not constitute good cause.

  26               b.   Table. Include a table of dates specified below in the format below.

  27                    (i) Use the following date format: 00/00/00. (ii) All current and

  28                    proposed dates must be included even if a current and proposed


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  1                     date is the same (i.e., leave no blanks). (iii) Insert “none” in a cell

  2                     if no date has been set. (iv) Add more columns for “Prior Dates” as

  3                     necessary to show all prior extensions. (v) Add rows if other dates

  4                     not shown in the table were set.

  5                            Event                     Prior Dates Current Dates Proposed Dates
             Trial
  6
             Pretrial Conf.
  7
             Motion to Amend Pleadings
  8          Fact Discovery Cutoff
  9          Expert Discovery Cutoff
             Discovery Motion Hearing Cutoff
  10
             Non-Discovery Motion Hearing Cutoff
  11         Settlement Conf. Deadline

  12         Post-Settle. Conf. (Rep. due 3 days bef.)
             Trial Filings (1st Set)
  13
             Trial Filings (2nd Set)
  14
  15             c.     Caption. List the dates of the original (i) Complaint; and (ii)

  16                    Responsive Pleading below the caption title.

  17             d.     Proposed Order. A party must use the CMO Continuance Order

  18                    template on the Court’s website. As reflected in the template, the

  19                    proposed order shall contain the same table as above in a Word

  20                    document that states the following:

  21                       “Having considered the request to continue the deadlines

  22                       in the case management order (CMO) and finding good

  23                       cause to grant a continuance, the Court hereby modifies

  24                       the CMO by adopting the Proposed Dates (as may have

  25                       been modified) in the table below.”

  26                    The proposed order shall not contain: (i) attorney names,

  27                    addresses, etc. on the caption page; (ii) a footer with the document

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  1                   name or other information; or (iii) a watermark or designation of

  2                   the firm name.

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       Dated: February 10, 2021
  6                                                    Stanley Blumenfeld, Jr.
                                                  United States District Court Judge
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